

After Remand from the Supreme Court

THOMPSON, Judge.
This court, on September 17, 1999, affirmed the trial court’s judgment, without an opinion, but with a special writing. 782 So.2d 1284 (Ala.Civ.App.1999). This court’s judgment has been reversed and the cause remanded by the Supreme Court of Alabama. Ex parte Ward, 782 So.2d 1285 (Ala.1999). In compliance with the Supreme Court’s opinion, the judgment of the trial court is reversed and the cause is *1289remanded for further proceedings consistent with the Supreme Court’s opinion.
REVERSED AND REMANDED.
ROBERTSON, P.J., and YATES, MONROE, and CRAWLEY, JJ„ concur.
